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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, et al.,

Plaintiffs,                                   CIVIL ACTION FILE

v.                                           NO. 1:17-CV-02989-AT

BRIAN KEMP, et al.,

Defendants.




              STATE DEFENDANTS’ CLOSING STATEMENT
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      Plaintiffs’ fears are speculative not because they are completely

impossible as an academic matter, but because Georgia defends against them

security procedures Plaintiffs’ computer scientists know little about or

wrongly assume do not exist. After a reexamination, this year the Secretary

of State certified the DRE system is safe and accurate. This Court is asked to

override that and upend Georgia’s elections system even while the gears of

Georgia’s election machinery are already turning.

      Although the State provides the system, elections happen at the county

level. Going from an election where less than 10% of the ballots cast would

likely be paper to 100% is a dramatic change. Ordering the S.E.B. to legislate

a plan into existence is not the same as proving a safe system can be created

and implemented with so little time. With the backing of the then-Governor

and the General Assembly, former Secretary of State Cathy Cox led the

restructuring of Georgia’s elections system between 2000 and 2002. As she

testified, redesigning Georgia’s elections system while preparations for the

election are already underway would be “chaotic in the extreme.” A chorus of

election officials from across Georgia plead in unison that their warnings be

heeded.    Theirs are the voices of experience and personal knowledge

regarding Georgia’s voting infrastructure. The Court should deny Plaintiffs’

motions.
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    Respectfully submitted, this 14th day of September, 2018.

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                    CERTIFICATE OF COMPLIANCE


      I hereby certify that I have read the Court’s Standing Order in Cases

Proceedings Before the Honorable Amy Totenberg and that I will comply with

its provisions during the pendency of this litigation.

                                            /s/John F. Salter

      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local

Rule 5.1 of the Northern District of Georgia, using a font type of Century

Schoolbook and a point size of 13.

                                            /s/John F. Salter




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                            CERTIFICATE OF SERVICE

      I hereby certify that on this date I have electronically filed the

foregoing STATE DEFENDANTS’ CLOSING STATEMENT with the

Clerk of Court using the CM/ECF system, which will send email notification

of such filing to all attorneys of record.

      This 14th day of September, 2018.

                                              BARNES LAW GROUP, LLC

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